      Case 3:14-cr-01286-DMS                          Document 391                Filed 09/25/15                  .......---'_._Page
                                                                                                               PageID.1151       ..  1 of 4  __._-'---
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      I!&AO 245B (CASD) (Rev. 4/14)   Judgmenl in a Criminal Case
                 Sheet t                                                                                                           SEP 25 20i:i
                                                                                                                            CLEI'1K U~l DISTRICT COURT
                                                UNITED STATES DISTRICT COUR~$UTHERNDISTRICTOFCAL~~:~,!¢
                                                                              c:_._co_::tt:L_._____.___
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                          v.                                        (For Offenses Committed On or After November I, 1987)

                    DAVID WILLIAM CENTRONE (I)                                      Case Number: 14CR1286-DMS
                                                                                     Dante T Pride RET
                                                                                    Defendant's Attorney
     REGISTRATION NO. 47119298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) I and 2 of the Superseding Information

     o was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following otl'ense(s):
                                                                                                                                             Count
     Title & Section                           Nature of Offense                                                                            Numberls)
21 USC 846, 841(a)(I)                  CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                              IS
18 USC 924(c)(I)                       POSSESSION OF A FIREARM IN FURTHERANCE OF A DRUG                                                     2S
                                          TRAFFICKING CRIME




        The defendant is sentenced as provided in pages 2 through _ _.:!4_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count{s)
   Count(s)                           ---------0--------------------
 O         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is areD dismissed on the motion of the United States.
 181 Assessment: $200.00 (100.00 as to each of Counts Is and 2s)

 181 Fine waived                                     D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attomey for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attomey of any material change in the defendant's economic circumstances.
                                                                              September 25. 2015
                                                                              Date of Imposition of Sentence




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                              14CR1286-DMS
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AD 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
             Sheet 2 - Imprisonment

                                                                                                   Judgment - Page _....:.2_ of   4
 DEFENDANT: DAVID WILLIAM CENTRONE (1)
 CASE NUMBER: 14CR1286-DMS
                                                             IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States BUI'eau of Prisons to be imprisoned for a term of
          TWO HUNDRED TWENTY-EIGHT (228) MONTHS as follows: ONE HUNDRED SIXTY-EIGHT (168) MONTHS as
          to Count Is, and SIXTY (60) MONTHS as to Count 2s, consecutive to Count Is.


      o Sentence imposed pursuant to Title 8 USC Section 1326(b).
      ~ The court makes the following recommendations to the Bureau of Prisons:
          Defendant be designated to the Western Region of the U.S., specifically Lompoc CA.




      o   The defendant is remanded to the custody ofthe United States Marshal.

      o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before -------------------------------------------------
           o    as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                      to

 at                                                    with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                           14CR1286-DMS
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AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                Judgment Page        3     of        4
DEFENDANT: DAVID WILLIAM CENTRONE (I)
CASE NUMBER: 14CR1286-DMS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TEN (10) YEARS as to Count Is, and FIVE (5) YEARS as to Count 2s to run consecutively.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release fl:om
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or aflerSeptember 13.1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with tfie requirements of the Sex Offender 'Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony. unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with sueh notification requirement.

                                                                                                                                         14CR1286-DMS
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       AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
                   Sheet 4 -   Special Conditions
                                                                                                      Judgment   Page   4    of      4
       DEFENDANT: DAVID WILLIAM CENTRONE (l)
       CASE NUMBER: 14CR1286-DMS




                                                SPECIAL CONDITIONS OF SUPERVISION
     Submit person, propelty, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and
     in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to
     submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
     searches pursuant to this condition.

D deportation,
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
               exclusion or voluntary departure.

D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
I8l Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence repOlt
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    infonnation between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requcsted.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

D Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within        days of release from custody.

D Complete          hours of community service in a program approved by the probation officer within

D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
    Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                  14CR1286-DMS
